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 4

 5
     Attorney for Defendant
     CRUZ MANZO-GONZALEZ
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. 2:09-cr-00407 KJM
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND ORDER
                                                    )       CONTINUING STATUS CONFERENCE
11
     v.                                             )
                                                    )
12
     MARIA DEL ROCIO ARCEO-RANGEL,                  )       Date: May 5, 2011
                                                    )       Time: 10:00 a.m.
13   et al.,                                        )       Judge: Honorable Kimberly J. Mueller
                                                    )
14
            Defendants.                             )
                                                    )
15
                                                    )
16

17          IT IS HEREBY stipulated between the UNITED STATES OF AMERICA through its

18   undersigned counsel, Samuel Wong, Assistant United States Attorney, together with counsel for

19   defendant Maria Del Rocio Arceo-Rangel, Michael D. Long, Esq., counsel for defendant Erica

20   Beatriz Martinez-Rangel, Hayes H. Gable, III, Esq., counsel for defendant Martin Garcia-

21   Chavez, Michael B. Bigelow, Esq., counsel for defendant Isidro Gutierrez-Valencia, Dina L.

22   Santos, Esq., counsel for defendant Cruz Manzo-Gonzalez, John R. Manning, Esq., counsel for

23   defendant Alfredo Gallardo-Sosa, Jesse Ortiz, Esq., counsel for defendant Gumersindo Perez-

24   Herrera, Preeti K. Bajwa, counsel for defendant Jorge Heriberto Andrade-Torres, Kirk

25   McAllister, Esq., counsel for defendant Ricardo Castellanos-Cordova, Clemente M. Jimenez,

26   Esq., counsel for defendant Jesus Munoz-Castanon, Carl E. Larson, Esq., counsel for defendant

27   Walter Maruicio Lopez-Sanchez, Dan F. Koukol, Esq., and counsel for defendant Pedro

28   Gutierrez-Valencia, James R. Greiner, Esq., hereby agree and stipulate that the status conference



                                                        1
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 1   presently set for May 5, 2011 be continued to June 23, 2011, at 10:00 a.m., thus vacating the
 2   presently set status conference.
 3          Further, all of the parties, the United States of America and all of the defendants as stated
 4   above, hereby agree and stipulate that time under the Speedy Trial Act should be excluded under
 5   Title 18, United States Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local
 6   code T-2 (unusual and complex case) and Local Code T-4 (to allow defense counsel time to
 7   SUHSDUH IURPWKHGDWHRIWKHSDUWLHV¶VWLSXODWLRQMay 3, 2011, to and including Thursday June
 8   23, 2011.
 9                             PROCEDURAL STATUS OF THE CASE
10          On September 10 and 17, 2009, the government filed a criminal complaint against all
11   defendants. (See Docket Entries #1 and 1)
12          On September 18, 2009, the government filed an Indictment charging twelve defendants
13   in Count 1 (conspiracy to manufacture at least 1,000 marijuana plants, Title 21, U.S.C. Sections
14   846 and 841 (a)(1)), Count 2 (manufacture of at least 1,000 marijuana plants, Title 21, U.S.C.
15   Section 841 (a)(1)), and Count 3 (possession and discharge of a firearm in furtherance of a drug
16   trafficking crime), Title 18, U.S.C. Section 924 (c)(1)(A)(i) and (iii)), and charging one
17   defendant in Count 4 (accessory after the fact, Title 18, U.S.C. Section 3) and a Forfeiture
18   Allegation against twelve of the defendants (Title 21, U.S.C. Section 853(a), Title 18, U.S.C.
19   Section 924(d)(1) and Title 28, U.S.C. Section 2461 (c)).
20          On March 3, 2011, defendant Luis Rene Estrada Castanon, aka Jesus Estrada Pineda,
21   pled guilty and was convicted on Count Three of the Indictment (possession of a firearm in
22   furtherance of a drug trafficking crime), Title 18, U.S.C. Section 924 (c)(1)(A)(i), and is awaiting
23   sentencing on May 19, 2011.
24                     TIME EXCLUDED UNDER THE SPEEDY TRIAL ACT
25          The parties agree and stipulate that with the voluminous discovery, the number of
26   remaining defendants involved in the case (12), the complex legal issues involved in the case and
27   the time needed by the twelve defendants represented by their undersigned counsel to review all
28   of the discovery produced by the government to date, it is unreasonable to expect adequate


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 1   preparation for pretrial proceedings and trial itself within the time limits established in § 3161.
 2   In addition, the parties stipulate and agree that the continuance requested herein is necessary to
 3   provide the undersigned defense counsel reasonable time to prepare their respective clients'
 4   defenses taking into account due diligence and that the interests of justice in granting this
 5   reasonable request for a continuance outweighs the best interests of the public and defendants for
 6   a speedy trial in this case, pursuant to Title 18, United States Code, Section 3161(h)(7)(A) and
 7   (B)(ii) and (iv), corresponding to Local Code T-2 (unusual and complex case) and Local Code T-
 8   4 (to allow defense counsel time to prepare).
 9          Respectfully submitted:
10   Dated: May 3, 2011                                            /s/ Michael D. Long
                                                                   MICHAEL D. LONG
11
                                                                   Attorney for Defendant
12                                                                 Maria Del Rocio Arceo-Rangel

13   Dated: May 3, 2011                                            /s/ Michael B. Bigelow
                                                                   MICHAEL B. BIGELOW
14
                                                                   Attorney for Defendant
15                                                                 Martin Garcia-Chavez

16   Dated: May 3, 2011                                            /s/ Hayes H. Gable
17
                                                                   HAYES H. GABLE
                                                                   Attorney for Defendant
18                                                                 Erica Beatriz Martinez-Rangel
19   Dated: May 3, 2011                                             /s/ Dina L. Santos
20
                                                                   DINA L. SANTOS
                                                                   Attorney for Defendant
21                                                                 Isidro Gutierrez-Valencia
22
     Dated: May 3, 2011                                             /s/ John R. Manning
23                                                                 JOHN R. MANNING
                                                                   Attorney for Defendant
24                                                                 Cruz Manzo-Gonzalez
25
     Dated: May 3, 2011                                            /s/ Clemente M. Jimenez
26                                                                 CLEMENTE M. JIMENEZ
                                                                   Attorney for Defendant
27                                                                 Ricardo Castellanos-Cordova
28




                                                       3
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     Dated: May 3, 2011                               /s/ Jesse Ortiz
 1
                                                     JESSE ORTIZ
 2                                                   Attorney for Defendant
                                                     Alfredo Gallardo-Sosa
 3
     Dated: May 3, 2011                              /s/ Preeti K. Bajwa
 4
                                                     PREETI K. BAJWA
 5                                                   Attorney for Defendant
                                                     Gumersindo Perez-Herrera
 6

 7
     Dated: May 3, 2011                               /s/ Kirk McAllister
                                                     KIRK MCALLISTER
 8                                                   Attorney for Defendant
                                                     Jorge Heriberto Andrade-Torres
 9

10
     Dated: May 3, 2011                               /s/ Carl E. Larson
                                                     CARL E. LARSON
11                                                   Attorney for Defendant
                                                     Jesus Munoz-Castanon
12

13   Dated: May 3, 2011                               /s/ James R. Greiner
                                                     JAMES R. GREINER
14                                                   Attorney for Defendant
                                                     Pedro Gutierrez-Valencia
15

16   Dated: May 3, 2011                              /s/ Dan F. Koukol
                                                     DAN F. KOUKOL
17                                                   Attorney for Defendant
                                                     Walter Maruicio Lopez-Perez
18

19

20   Dated: May 3, 2011                              Benjamin B. Wagner
                                                     United States Attorney
21

22                                             by:   /s/ Samuel Wong
                                                     SAMUEL WONG
23                                                   Assistant U.S. Attorney
24

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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                        ) No. 2:09-cr-00407 KJM
10
                                                      )
                                                      )
11          Plaintiff,                                ) ORDER TO CONTINUE STATUS
                                                      ) CONFERNCE
12
     v.                                               )
                                                      )
13
     MARIA DEL ROCIO ARCEO-RANGEL,                    )
                                                      )
14   et al.,                                          )
                                                      )
15
            Defendants.                               )
                                                      )
16
                                                      )
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19          The Court, having received, read, and considered the stipulation of the parties, and good
20   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based
21   on the stipulation of the parties and the recitation of facts contained therein, the Court finds that
22   this case is unusual and complex and that it is unreasonable to expect adequate preparation for
23   pretrial proceedings and trial itself within the time limits established in 18 U.S.C. § 3161. In
24   addition, the Court specifically finds that the failure to grant a continuance in this case would
25   deny defense counsel to this stipulation reasonable time necessary for effective preparation,
26   taking into account the exercise of due diligence. The Court finds that the ends of justice to be
27   served by granting the requested continuance outweigh the best interests of the public and the
28   defendants in a speedy trial.


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 1          The Court orders that the time from the date of the parties' stipulation, May 3, 2011, to
 2   and including June 23, 2011, shall be excluded from computation of time within which the trial
 3   of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §
 4   3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T2 (unusual and complex case) and T4
 5   (reasonable time for defense counsel to prepare). It is further ordered that the May 5, 2011,
 6   status conference shall be continued until June 23, 2011, at 10:00 a.m.
 7          IT IS SO ORDERED.
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     Dated: May 4, 2011.
 9
                                                         UNITED STATES DISTRICT JUDGE
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